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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

STEPHANIE CIUPKA,                                 )
                                                  )
                         Plaintiff,               )
                                                  )
        vs.                                       )
                                                  )
HARRIS & HARRIS, LTD.,                            )
                                                  )
                         Defendants.              )

                                              COMPLAINT

        1.      Plaintiff Stephanie Ciupka brings this action to secure redress for the actions of

defendant Harris & Harris, Ltd., in placing automated telephone calls to cellular telephones, in

violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 (“TCPA”). Plaintiff also

seeks redress for violation of the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

(“FDCPA”).

        2.      In order to protect the privacy of cellular subscribers, and to avoid forcing

recipients of automated calls to pay for them, the TCPA prohibits the use of automated telephone

dialing equipment to place calls to cellular phones without consent.

        3.      The FDCPA broadly prohibits unfair or unconscionable collection methods,

conduct which harasses or abuses any debtor, and the use of any false or deceptive statements in

connection with debt collection attempts. It also requires debt collectors to give debtors certain

information. 15 U.S.C. §§1692d, 1692e, 1692f and 1692g.

        4.      In enacting the FDCPA, Congress found that: “[t]here is abundant evidence of the

use of abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

debt collection practices contribute to the number of personal bankruptcies, to marital instability,

to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. §1692(a).

        5.      Because of this, courts have held that “the FDCPA's legislative intent emphasizes




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the need to construe the statute broadly, so that we may protect consumers against debt collectors'

harassing conduct.” and that “[t]his intent cannot be underestimated.” Ramirez v. Apex Financial

Management LLC, 567 F.Supp.2d 1035, 1042 (N.D.Ill. 2008).

         6.     The FDCPA encourages consumers to act as "private attorneys general" to enforce

the public policies and protect the civil rights expressed therein. Crabill v. Trans Union, LLC,

259 F.3d 662, 666 (7th Cir. 2001).

         7.     Plaintiff seeks to enforce those policies and civil rights which are expressed

through the FDCPA, 15 U.S.C. §1692 et seq.

                                    VENUE AND JURISDICTION

         8.     This Court has jurisdiction under 15 U.S.C. §1692k (FDCPA), 28 U.S.C. §1331

and 28 U.S.C. §1337.

         9.     Venue and personal jurisdiction in this District are proper because:

                a.      Defendant’s collection communications were received by Plaintiff within

                        this District;

                b.      Defendant does or transacts business within this District.

                                                PARTIES

         10.    Plaintiff Stephanie Ciupka is a resident of the Northern District of Illinois.

         11.    Defendant Harris & Harris, Ltd., is an Illinois corporation with its principal place

of business located at 111 West Jackson Blvd., Suite 400, Chicago, IL 60604. Its registered

agent and office is MS Registered Agent Services, 191 N. Wacker Dr., Suite 1800, Chicago, IL

60606.

         12.    Defendant Harris & Harris, Ltd., is engaged in the business of using the mails and

telephone to collect consumer debts owed to others.

         13.    Defendant advertises for employees to “Use manual and automated dialing to




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contact delinquent account holders from across the country by telephone (averaging about 200

outbound calls a day).” (https://www.indeed.com/q-Harris-&-Harris-l-Chicago,-IL-jobs.html?

advn=1836144526009303&vjk=560bd2ed97a07c16)

         14.    Defendant Harris & Harris, Ltd. is a debt collector as defined in the FDCPA.

                                                  FACTS

         15.    Defendant has been attempting to collect from Plaintiff an alleged medical debt

allegedly owed by Plaintiff for medical services to her.

         16.    Plaintiff does not believe she owes anything. The provider has informed her that

she has no outstanding balance.

         17.    On multiple occasions during the first half of 2019, defendant Harris & Harris,

Ltd.:

                a.       Placed calls using automated telephone dialing equipment to Plaintiff’s

                         cell phone;

                b.       Placed calls using automated telephone dialing equipment to Plaintiff’s

                         place of employment.

         18.    Plaintiff returned one of the calls on June 19, 2019 and was orally informed what

the alleged debt was.

         19.    Defendant was required to send a notice of debt within 5 days of the first

communication to Plaintiff relating to the alleged debt.

         20.    At no time has Plaintiff received a notice of debt identifying the alleged debt.

         21.    On information and belief, Defendant did not send such notice.

         22.    By letter of July 10, 2019, Plaintiff instructed Harris & Harris, Ltd., to cease

calling her. The letter was delivered on July 16, 2019. (Exhibit A)

         23.    On at least one occasion thereafter, Harris & Harris, Ltd., called Plaintiff’s cell

phone, using automated equipment.

         24.    On July 18, 2019, Plaintiff received an automated call from Harris & Harris.


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Plaintiff returned the call to the number from which it had been placed and reached Harris &

Harris’ automated system.

         25.    Defendant Harris & Harris, Ltd. continued to place calls to a work voicemail used

by Plaintiff and several other persons.

         26.    Defendant Harris & Harris, Ltd. placed 1-2 calls per week to a work voicemail

used by Plaintiff and several other persons during August of 2019.

         27.    Defendant Harris & Harris, Ltd. placed 1-2 calls per week to a work voicemail

used by Plaintiff and several other persons during September of 2019.

         28.    Plaintiff was harassed and aggravated as a result.

                                          COUNT I – FDCPA

         29.    Plaintiff incorporates paragraphs 1-28.

         30.    Defendant violated 15 U.S.C. §1692g, by failing to provide the “notice of debt”

required by that section within 5 days after the first communication to Plaintiff regarding the

debt.

         31.    Defendant violated 15 U.S.C. §§1692e, 1692e(2), and 1692e(10) by:

                a.       Attempting to collect a debt that was not owed;

                b.       Representing that plaintiff owed such debt;

         32.    Section 1692g provides:

                § 1692g. Validation of debts

                (a) Notice of debt; contents. Within five days after the initial communication
                with a consumer in connection with the collection of any debt, a debt
                collector shall, unless the following information is contained in the initial
                communication or the consumer has paid the debt, send the consumer a
                written notice containing--

                           (1) the amount of the debt;

                           (2) the name of the creditor to whom the debt is owed;

                           (3) a statement that unless the consumer, within thirty days after
                         receipt of the notice, disputes the validity of the debt, or any portion
                         thereof, the debt will be assumed to be valid by the debt collector;


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                          (4) a statement that if the consumer notifies the debt collector in
                        writing within the thirty-day period that the debt, or any portion
                        thereof, is disputed, the debt collector will obtain verification of the
                        debt or a copy of a judgment against the consumer and a copy of such
                        verification or judgment will be mailed to the consumer by the debt
                        collector; and

                          (5) a statement that, upon the consumer's written request within the
                        thirty-day period, the debt collector will provide the consumer with
                        the name and address of the original creditor, if different from the
                        current creditor.

                 (b) Disputed debts. If the consumer notifies the debt collector in writing
                 within the thirty-day period described in subsection (a) that the debt, or any
                 portion thereof, is disputed, or that the consumer requests the name and
                 address of the original creditor, the debt collector shall cease collection of the
                 debt, or any disputed portion thereof, until the debt collector obtains
                 verification of the debt or a copy of a judgment, or the name and address of
                 the original creditor, and a copy of such verification or judgment, or name
                 and address of the original creditor, is mailed to the consumer by the debt
                 collector. Collection activities and communications that do not otherwise
                 violate this title may continue during the 30-day period referred to in
                 subsection (a) unless the consumer has notified the debt collector in writing
                 that the debt, or any portion of the debt, is disputed or that the consumer
                 requests the name and address of the original creditor. Any collection
                 activities and communication during the 30-day period may not overshadow
                 or be inconsistent with the disclosure of the consumer's right to dispute the
                 debt or request the name and address of the original creditor.

                 (c) Admission of liability. The failure of a consumer to dispute the validity of
                 a debt under this section may not be construed by any court as an admission
                 of liability by the consumer.

                 (d) Legal pleadings. A communication in the form of a formal pleading in a
                 civil action shall not be treated as an initial communication for purposes of
                 subsection (a).

                 (e) Notice provisions. The sending or delivery of any form or notice which
                 does not relate to the collection of a debt and is expressly required by the
                 Internal Revenue Code of 1986 [26 USCS §§ 1 et seq.], title V of Gramm-
                 Leach-Bliley Act [15 USCS §§ 6801 et seq.], or any provision of Federal or
                 State law relating to notice of data security breach or privacy, or any
                 regulation prescribed under any such provision of law, shall not be treated as
                 an initial communication in connection with debt collection for purposes of
                 this section.

       WHEREFORE, the Court should enter judgment in favor of Plaintiff and against

Defendant for:

                 a.     Statutory damages;


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                b.      Actual damages;

                c.      Attorney’s fees, litigation expenses and costs of suit;

                d.      Such other and further relief as the Court deems proper.

                                           COUNT II – TCPA

          33.   Plaintiff incorporates paragraphs 1-28.

          34.   On information and belief, the calls to Plaintiff were placed using automated

telephone dialing equipment.

          35.   The TCPA, 47 U.S.C. § 227, prohibits unsolicited automated calls to cell

phones:

                . . . (b) Restrictions on use of automated telephone equipment.

                          (1) Prohibitions. It shall be unlawful for any person within the
                        United States, or any person outside the United States if the recipient
                        is within the United States--

                            (A) to make any call (other than a call made for emergency
                        purposes or made with the prior express consent of the called party)
                        using any automatic telephone dialing system or an artificial or
                        prerecorded voice– * * *

                                      (iii) to any telephone number assigned to a paging service,
                                cellular telephone service, specialized mobile radio service, or
                                other radio common carrier service, or any service for which
                                the called party is charged for the call . . .


          36.   The TCPA, 47 U.S.C. §227(b)(3), provides:

                Private right of action.

                A person or entity may, if otherwise permitted by the laws or rules of court
                of a State, bring in an appropriate court of that State–

                        (A) an action based on a violation of this subsection or the regulations
                        prescribed under this subsection to enjoin such violation,

                        (B) an action to recover for actual monetary loss from such a
                        violation, or to receive $500 in damages for each such violation,
                        whichever is greater, or

                        (C) both such actions.



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                If the Court finds that the defendant willfully or knowingly violated this
                subsection or the regulations prescribed under this subsection, the court
                may, in its discretion, increase the amount of the award to an amount equal
                to not more than 3 times the amount available under the subparagraph (B) of
                this paragraph.

        37.     Plaintiff suffered damages as a result of receipt of the calls, in that she was

required to pay for such receipt, either on a per message basis or because the receipt counted

against the number of minutes or messages she pays for. Furthermore, Plaintiff’s statutory right

of privacy was invaded.

        38.     Plaintiff is entitled to statutory damages.

        39.     Defendant violated the TCPA even if its actions were only negligent.

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

against Defendant for:

                a.        Statutory damages;

                b.        Costs of suit;

                c.        Such other or further relief as the Court deems just and proper.



                                                  /s/ Daniel A. Edelman
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                           NOTICE OF LIEN AND ASSIGNMENT

        Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount as
a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                             /s/ Daniel A. Edelman
                                             Daniel A. Edelman



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                            DOCUMENT PRESERVATION DEMAND

          Plaintiff hereby demands that defendant take affirmative steps to preserve all recordings,
data, documents, and all other tangible things that relate to plaintiff, the events described herein,
any third party associated with any telephone call, campaign, account, sale or file associated with
plaintiff, and any account or number or symbol relating to them. These materials are likely very
relevant to the litigation of this claim. If defendant is aware of any third party that has
possession, custody, or control of any such materials, plaintiff demands that defendant request
that such third party also take steps to preserve the materials. This demand shall not narrow the
scope of any independent document preservation duties of the defendant.



                                                  /s/ Daniel A. Edelman
                                                  Daniel A. Edelman




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